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                          Exhibit 3
    Plaintiff’s Response to Def’s 1st RFAs




Defendants Pine Ridge Macon, LLC And New
    Home, LLC’s Petition For Removal
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                      IN TIIE STATE COURT OF FULTON COUNTY
                                 STATE OF GEORGIA
KATAVIUS THREATT, Individually and as
Next
Friend of NIASIA THREATT,



    Plaintiffs,
                                                     CIVIL ACTION
V                                                    FrLE NO. 238V000464

PiNE zuDGE MACON, LLC
d/b/a PINE zuDGE
APARTMENTS, NEW HOME, LLC, TIESF{A
KAY, and JOHN DOE NOS. i-10.,

    Defendants




PLAINTIFF'S RESPONSE TO DEFENDANT PINE RIDGE MACON. LLC D/B/A PINE
         RIDGE APARTMENT'S FIRST REOUEST FOR. ADMISSIONS
        TO PLAINTIFF KATAYIOUS THREATT. INDIVIDUALLY AND
                AS NEXT OF FRIEND OF NIASIA THREATT

        COMES NOW, Plaintiff Katavius Threatt, Individually and as Next Friend of Niasia

Threatt (hereinafter referred to as "Plaintiffs") and respond to Defendant Pine Ridge Macon,

LLC dlbla Pine Ridge Apartment's (hereinafter referred to as "Defendant") First Requests for

Admissions, as follows:

                                                1.


        Admit that you have not personally served Tiesha Kay with a copy of the summons and

complaint in this case.

RESPONSE: Admitted. There is currently a pending Motion for Service by Publication in

this Court for service on Tiesha Kay.

                                                2.

        Admit that you have not made attempts to serve Tiesh aKay with a copy of the summons


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and complaint in this case as of the date of these requests (June 30, 2023).

RESPONSE: Denied.

                                                 a
                                                 J.


       Admit that you do not intend to serve Tiesha Kay with a copy of the summons and

complaint in this case.

RESPONSE: Denied.
             ot*h
       This Z ' day of July, 2A23.




                                                                       Bivins
                                                                   No.914842
                                                                   Flaintiffs

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